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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

GILBRINA MILLER,                                       §
                                                       §
                 Plaintiff,                            §
                                                       §
v.                                                     §                    1:21-cv-299-RP
                                                       §
CONDUENT COMMERCIAL                                    §
SOLUTIONS, LLC,                                        §
                                                       §
                 Defendant.                            §

                                                  ORDER

        On June 28, 2021, Plaintiff Gilbrina Miller (“Plaintiff”) filed her Notice of Voluntary

Dismissal. (Dkt. 3). Rule 41(a)(1)(A)(i) allows a plaintiff to voluntarily dismiss an action without a

court order by filing a notice of dismissal before the opposing party serves an answer or a motion

for summary judgment. Fed. R. Civ. P. 41(a)(1)(A)(i). Defendant Conduent Commercial Solutions,

LLC has not served an answer or motion for summary judgment. As such, Plaintiff’s notice of

voluntary dismissal is “self-effectuating and terminates the case in and of itself; no order or other

action of the district court is required.” In re Amerijet Int’l, Inc., 785 F.3d 967, 973 (5th Cir. 2015), as

revised (May 15, 2015).

        IT IS ORDERED that this case is CLOSED.

        SIGNED on June 29, 2021.

                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
